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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
BISSO MARINE, LLC CIVIL ACTION NO: 18-01083
VERSUS JUDGE ASHE
ERIC JUDE WYBLE MAG. JUDGE MEERVELD

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MOTION TO DISMISS DECLARATORY JUDGMENT ACTION
NOW INTO COURT, through undersigned counsel, comes Defendant, Eric Jude Wyble, who
moves this Honorable Court to dismiss the declaratory judgment action filed by Plaintiff, Bisso
Marine, LLC, for the reasons more fully set forth in the attached Memorandum in Support of Motion

to Dismiss Declaratory Judgement Action.

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BY:s/Lawrence N. Curtis
LAWRENCE N. CURTIS (4678)
Case 2:18-cv-01083-BWA-JVM Document 27 Filed 01/29/20 Page 2 of 2

CERTIFICATE OF SERVICE
I hereby certify that January 29, 2020, a copy of the above and foregoing was filed
electronically with the Clerk of Court using CM/ECF system. Notice of this filing will be sent to:

David L. Reisman, Esq., by operation of the Court's electronic filing system.

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